     Case 3:22-cv-02855-ZNQ-DEA Document 10 Filed 07/12/22 Page 1 of 1 PageID: 65




                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY

STEVEN OWEN, individually, and on behalf of
all others similarly situated,                APPLICATION FOR EXTENSION OF TIME TO
                                              ANSWER, MOVE, OR OTHERWISE REPLY
                                              [Local Civil rule 6.1(b)]
                     Plaintiff(s)

             v.                                   Civil Action No. ________________
                                                                   3:22-cv-02855-ZNQ-DE
NESTLÉ HEALTHCARE NUTRITION, INC.,

                     Defendant(s)




          Application is hereby made for a Clerk’s Order extending time within which defendant(s)
   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                            NESTLÉ HEALTHCARE NUTRITION, INC.,
   PD\DQVZHUPRYHRURWKHUZLVHUHSO\WRWKH&RPSODLQWILOHGE\SODLQWLII V KHUHLQDQGLWLV
   UHSUHVHQWHGWKDW
         No previous extension has been obtained;
         Service of Process was effected onBBBBBBBBBBBDQG
                                             May 24, 2022
         7LPHWR$QVZHU0RYHRURWKHUZLVH5HSO\H[SLUHVRQBBBBBBBBBB
                                                              July 25, 2022


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                                                                      200 Park Avenue, 47th Floor
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                                                                       New York, New York 10166
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        The above application is ORDERED GRANTED'HIHQGDQW V WLPHWRDQVZHUPRYHRU
                                    August 8, 2022
     RWKHUZLVHUHSO\LV extended to BBBBBBBBBBBBB
     ORDER DATED: BBBBBBBBBBBBBBB

                                                       WILLIAM T. WALSH, Clerk
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